Case: 1:22-cv-00125 Document #: 756 Filed: 12/17/24 Page 1 of 5 PageID #:20029




                     EXHIBIT 76
Case: 1:22-cv-00125 Document #: 756 Filed: 12/17/24 Page 2 of 5 PageID #:20030




                               In the Matter Of:

                                    HENRY v
                              BROWN UNIVERSITY




                           SARA HARBERSON
                              October 25, 2023
  Case: 1:22-cv-00125 Document #: 756 Filed: 12/17/24 Page 3 of 5 PageID #:20031
   HENRY v                                                           Sara Harberson
   BROWN UNIVERSITY               Attorneys Eyes Only               October 25, 2023

                                                                           223
·1· ·tagged.· Those were the big ones.

·2· · · · ·To get a BSI tag, you were

·3· ·untouchable.· You would have

·4· ·gotten in almost 100 percent of

·5· ·the time.

·6· · · · ·A BSI would have been a

·7· ·student whose family were big

·8· ·donors or someone on the board

·9· ·was advocating for that student.

10· · · · ·A governor of Delaware was

11· ·advocating for a student.· No, I

12· ·don't think he was an alum.            I

13· ·could be wrong.· And he wasn't on

14· ·the board at the time.

15· · · · ·PSI were potential special

16· ·interests.· So I would say that

17· ·most of the time it turned into a

18· ·BSI, but sometimes it didn't.

19· · · · ·And, on rare occasion, a

20· ·PSI possibly wouldn't get

21· ·admitted.

22· · · · ·So those are the tag -- the

23· ·big tags.

24· · · · ·And another unwritten rule


   www.LexitasLegal.com/Premier         Lexitas               888-267-1200 Page 223
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  Case: 1:22-cv-00125 Document #: 756 Filed: 12/17/24 Page 4 of 5 PageID #:20032
   HENRY v                                                           Sara Harberson
   BROWN UNIVERSITY               Attorneys Eyes Only               October 25, 2023

                                                                           224
·1· ·within the office was if a tagged

·2· ·applicant got admitted, whether

·3· ·the admissions officer was

·4· ·presenting that student to the

·5· ·admissions committee or it was

·6· ·done without any input from the

·7· ·admissions officer, without them

·8· ·knowing until it showed up on

·9· ·their docket, you knew you were

10· ·not supposed to question or

11· ·challenge those cases.

12· · · · ·So, for example, if we

13· ·were -- if we had overenrolled in

14· ·committee -- and it happened all

15· ·the time.· It happens because you

16· ·want to admit good students.

17· · · · ·But if you were untagged

18· ·and we were overenrolled, we were

19· ·told that you have to -- you

20· ·know, each admissions officer has

21· ·to remove 50 admitted students

22· ·from the class and take them to

23· ·Lee to move to a waitlist.

24· · · · ·But you were not allowed to


   www.LexitasLegal.com/Premier         Lexitas               888-267-1200 Page 224
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  Case: 1:22-cv-00125 Document #: 756 Filed: 12/17/24 Page 5 of 5 PageID #:20033
   HENRY v                                                           Sara Harberson
   BROWN UNIVERSITY               Attorneys Eyes Only               October 25, 2023

                                                                           225
·1· · · · · touch any student who had a tag.

·2· · · · · Because once they were

·3· · · · · admitted -- and if they were

·4· · · · · tagged, they were usually

·5· · · · · admitted by Lee -- you could not

·6· · · · · -- you didn't have a leg to stand

·7· · · · · on, even if -- even if the

·8· · · · · student was incredibly weak, even

·9· · · · · if the student had a major issue

10· · · · · in the application.· You had

11· · · · · absolutely no power as an

12· · · · · admissions officer.

13· ·BY MR. RAYMAR:

14· · · · · Q.· · And were applicants tagged

15· ·who were, in comparison to the rest of

16· ·that year's class, weak?

17· · · · · · · · MR. GRINGER:· Objection.

18· · · · · Lack of foundation and leading.

19· · · · · · · · This is someone on your

20· · · · · 26(a) list.· You cannot lead the

21· · · · · witness.

22· · · · · · · · MR. RAYMAR:· I can do

23· · · · · whatever I want to do, and then

24· · · · · you could object, and we'll


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